




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS






MARIANA CORDERO,


                                        Appellant,


v.


THE STATE OF TEXAS,


                                         Appellee.

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No. 08-09-00131-CR



Appeal from the


384th District Court

of El Paso County, Texas


(TC# 20030D01442)




MEMORANDUM  OPINION



	Mariana Cordero filed notice of appeal from an order denying post-conviction bail.  A jury
found Cordero guilty of one count of intoxication manslaughter (Count I) and sentenced her to serve
a three-year term of imprisonment.  The jury also found her guilty of failure to stop and render aid
(Count II) and sentenced her to serve a five-year term of imprisonment, probated for five years.
This&nbsp;Court affirmed Cordero's conviction of intoxication manslaughter and failure to
stop&nbsp;and&nbsp;render&nbsp;aid on January 17, 2007 and the mandate issued on July 11, 2008.  Cordero v.
State,&nbsp;No. 08-05-00285-CR, 2007 WL 4724675 (Tex.App.--El Paso 2007, pet. ref'd).  Cordero
subsequently filed an application for writ of habeas corpus but the record does not reflect that the
trial court has ruled on the merits of the application.  Cordero  attempts to appeal from the trial
court's order entered on April 20, 2009 denying her motion for admission to bail pending finality
of her conviction.  On May 8, 2009, the Court notified Cordero that it intended to dismiss the appeal
for want of jurisdiction because the record does not contain an appealable order and we invited her
to file a response within ten days to show grounds for continuing the appeal.  See Tex.R.App.P. 42.3.
No response has been filed. 

	Generally, we only have jurisdiction to consider an appeal by a criminal defendant where
there has been a final judgment of conviction.  See Workman v. State, 170 Tex.Crim. 621, 343
S.W.2d 446, 447 (1961); Bridle v. State, 16 S.W.3d 906, 907 (Tex.App.--Fort Worth 2000, no pet.). 
The exceptions to this rule include certain appeals from the denial of habeas corpus relief.  Bridle,
16 S.W.3d at 907 n.1; Wright v. State, 969 S.W.2d 588, 589 (Tex.App.--Dallas 1998, no pet.). 
Cordero does not, however, seek to appeal from an order denying habeas corpus relief.  No statute
or rule grants jurisdiction to this Court of an appeal from an order denying a motion for post-conviction bail.  Accordingly, we dismiss the appeal for want of jurisdiction.


October 7, 2009					                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


